Case 18-33395 Document 15 Filed in TXSB on 07/23/18 Page 1 of 5

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE= §
§
DRILLING STRUCTURES § CAsE No. 18"33395
INTERNATIONAL, INC. §
§
DEBTOR § CHAPTER 11

CHAP'I`ER 11 STATUS CONFERENCE STATEMENT

Drilling Structures international, Inc., the debtor~in~possession herein (the “Debtor”) files

this Chapter ll Status Conference Statement and Would show this Court as follows:

i.

The business, financial and other problems that prompted the filing of this case:

The Debtor Was a co~defendant in litigation involving Wrongful death claims in the 72“d
Judicial District Coui't of Lubboci< County, Texas.

Additionally, the Debtor has experienced cash flow problems due to the downtown in the oii
and gas industry.

Attendanee at a meeting of creditors pursuant to ll U.S.C. § 34l§a!:

The Meeting of Creditors has been set for July 26, 2018 at 3:00 p.m.

Estate’s need for professionals §e.g., attorneys, accountantsa brokei's, etc. }:

The Debtor has filed an application to retain Richard L. Fuqua and the law firm of FUQUA
& ASSOCIATES, PC, as counsel for the Debtor in this chapter 11 case.

At this time, the Debtor does not anticipate the need for the employment of other
professionals in this chapter 11 case.

Unigue issues concerning secured debt, employeesa cash collateral, executory contracts, and
existing management

None.

Postpetition operations and revenue:

Negotiations for fabrication are ongoing.

 

10.

11.

12.

Case 18-33395 Document 15 Filed in TXSB on 07/23/18 Page 2 of 5

Status of any litigation pending in or outside this Court:

Amcmda Velez, et al. vs. Norton Energy and Drz'lling Structures Internalional, Inc., Cause
No. 2016-522599 In the District Court of Lubbock County, Texas, 72“d Judicial District.
Mediation has been scheduled in this matter.

Compiiance with reg uests for information from the United States Trustee including, but not
limited to, requests made in the initial Debtor Interview:

Initial Debtor Interview Was conducted on July l9, 2018. Tiie Debtor Wiil comply with
ali requests for information made by the United States Trustee.

Type and adequacy of insurance coverage:

The Debtor currently has Wori<ers compensation insurance coverage and Will provide to
the United States Trustee proof of coverage on ali assets requiring insurance coverage.

Outline of proposed nlan:

Debtor Wili attempt to negotiate and resolve present claims and then propose a plan
utilizing the Debtor’s assets to satisfy all claims against the Debtor.

A proposed schedule for filing and confirming the proposed plan:

The Debtor anticipates filing its plan by October 23, 2018.
Debtor~ln-Possession Bank Account:

The Debtor has opened its Debtor-in-Possession bank account.

Any other matters that might materially affect the administration of this case:

None anticipated

FUQUA & ASSOCIATES, PC

By: /s/ Richard L. Fugua
Richard L. Fuqua

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(713) 960-1064 telecopier
COUNSEL FOR DEBTOR

Case 18-33395 Document 15 Filed in TXSB on 07/23/18 Page 3 of 5

CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing was forwarded by regular United States
mail, postage prepaid, and/or by ECF, to all parties listed on the attached service list on the 23rd day
of July, 2018.

/s/ Richara' L. Fuaua
Richard L. Fuqua

 

 

Case 18-33395

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Lioyds of London
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Bowen Miciette And Britt Ins.
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Blue Cl'oss Biue Shield 'i`exas
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Cardmember Service
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Palatine, IL 60094-4014

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Document 15 Filed in TXSB on 07/23/18

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Page 4 of 5

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Castle Metals
PO Box 841949
Dalias, TX 75284'1949

Reliant Energy
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Ramrod Trucking, Inc.
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Case 18-33395

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Document 15 Filed in TXSB on 07/23/18

PARTIES REQUESTING NOTICE:

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Page 5 of 5

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